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 9                               UNITED STATES DISTRICT COURT
10                              EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA             )               CASE NO.       CRS-07-432 EJG
                                          )
13                Plaintiff,              )
                                          )
14          v.                            )               STIPULATION AND ORDER TO
                                          )               CONTINUE JURY TRIAL AND TRIAL
15   GABRIEL RICHARD VIRAMONTES, and )                    READINESS HEARING
     JOSEPH SALVATORE GALLO,              )
16                                        )
                  Defendants.             )
17    ___________________________________
18
19          With the Court’s permission, the undersigned parties hereby stipulate and request that the
20   jury trial in this matter, presently calendared for Monday, November 8, 2010 at 10:00a.m. be
21   continued to March 7, 2011 at 10:00a.m., and that the trial readiness hearing presently calendared
22   for Friday, October 22, 2010 at 10:00a.m. be continued to February 18, 2011 at 10:00a.m.
23
24          It is further stipulated that the time between October 22, 2010 and March 7, 2011 be
25   excluded from the calculation of time under the Speedy Trial Act.
26          The parties submit that the ends of justice are served by the Court excluding such time so
27   that the counsel for each party may have reasonable time necessary for investigation and effective
28   preparation taking into account the exercise of due diligence. 18 USC Sec. 3161 (h)(7)(B)(iv)
     and Local Code T-4.
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 1          Defense counsel Michael Bigelow is in a complex federal trial before the Honorable
 2   William B. Shubb and that trial is estimated to continue into December, 2010. In addition, Mr.
 3   Bigelow must appear before the United States Supreme Court in the last week of November.
 4                                               Respectfully submitted,
 5
                                                 /s/ Matthew Stegman
 6   DATED: October 20, 2010                     ______________________________________
                                                 MATTHEW STEGMAN
 7                                               Assistant U.S. Attorney
 8                                               /s/ William J. Portanova
     DATED: October 20, 2010                     ______________________________________
 9                                               WILLIAM J. PORTANOVA
                                                 Attorney for Defendant Joseph Salvatore Gallo
10
11                                               /s/ Michael B. Bigelow
     DATED: October 20, 2010                     _______________________________________
12                                               MICHAEL B. BIGELOW
                                                 Attorney for Defendant Gabriel Richard Viramontes
13
14
15
     IT IS SO ORDERED.
16
     DATED: October 20, 2010                     /s/ Edward J. Garcia
17                                               THE HON. EDWARD J. GARCIA
                                                 United States District Court Judge
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